            Case: 23-50008, 07/03/2023, ID: 12748182, DktEntry: 11, Page 1 of 17




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               Case: 23-50008, 07/03/2023, ID: 12748182, DktEntry: 11, Page 8 of 17


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Case: 23-50008, 07/03/2023, ID: 12748182, DktEntry: 11, Page 9 of 17




   Exhibit                       ~
       Case: 23-50008, 07/03/2023, ID: 12748182, DktEntry: 11, Page 10 of 17

 Case 2:21-cr-00293-SB Document 164 Filed 12/27/22 Page 1 of 7 Page 1D #:2092




                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA




  UNITED STATES OF AMERICA,                   Case No. 2:21-cr-00293-SB
         Plaintiff,
  V.                                          ORDER DENYING MOTION FOR
                                              INDICATIVE RULING [DKT. NO.
 MAHSA PARVIZ,                                150]
         Defendant.



         Defendant Mahsa Parviz was convicted of two felonies for presenting false
  information to get an emergency passport for her biological daughter (C.P.) as part
  of a kidnapping scheme. At the time of the incident, Defendant's parental rights
  had been terminated and she was restrained from contacting C.P. Several months
- ago, -Defendant-was-sentenced -to-61 months' imprisonment, and she filed.a notice--
  of appeal soon after. She now seeks to be released under 18 U.S.C. § 3582(c)(1) in
  light of her medical conditions and the related medical risks posed by the COVID-
  19 pandemic. Dkt. No. 150. Because any motion for compassionate release in this
 court is barred by her pending appeal, Defendant seeks a ruling pursuant to Federal
 Rule of Criminal Procedure 37 and Federal Rule of Appellate Procedure 12.1
 indicating that the Court would grant her motion for early release. For the
 following reasons, the Court DENIES Defendant's motion.

                                         I.

       In June 2019, Defendant applied for an emergency passport for C.P. She
supported her request with a letter allegedly written by a medical provider claiming
that C.P. required emergency medical treatment outside the country and a flight
itinerary purporting to show she and C.P. were scheduled to leave immediately for
that surgery. The emergency application was granted, and Defendant received a
passport for C.P. Dkt. No. 125 (Amended PSR) 116-10. After receiving the
passport, Defendant flew to Texas in furtherance of a scheme to kidnap C.P. but
                     Case: 23-50008, 07/03/2023, ID: 12748182, DktEntry: 11, Page 11 of 17

                Case 2:21-cr-00293-SB Document 164 Filed 12/27/22 Page 2 of 7 Page ID #:2093



                was apprehended by the local police before she could take C.P. The police
               searched her car and found packed suitcases, international travel documents
               (including C.P.'s passport), and written notes detailing Defendant's criminal plan
               to take C.P. to another country. PSR 138. Defendant was charged with two
               felonies: making a false statement in an application for a U.S. passport and
               aggravated identity theft. Dkt. No. 1. At trial, the Government presented evidence
               that Defendant's parental rights had been terminated, the letter was false, and that
               Defendant had forged the medical provider's signature on it. A jury found
               Defendant guilty on both counts. Dkt. No. 69. Defendant has an extensive
               criminal history: she previously had been convicted of crimes for abandoning or
               endangering a child; attempted kidnapping of her nephew and, in a separate
               incident, of CT;tampering with a government record; and forgery of a financial
               instrument. PSR % 31-38. She also has a history of filing false police reports.
               PSR 1143-46. Accordingly, Defendant had a category VI criminal history at
               sentencing, PSR T 41, and has been designated as having a high risk of recidivism
               if released, Dkt. No. 155-4 (Ex. C).

                       Defendant's projected release date is December 7, 2025, and she has served
                approximately 30% of her 61-month sentence. Dkt No. 155-3(Ex. A)at 5. While
                Defendant's motion describes a litany of health issues, including "seizures, asthma,
                hypertension[], heart disease (atrial fibrillation), fibrornyalgia, migraines, syncope,
                chronic pain, and paroxysmal loss of function in the lower extremities," her
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                mastectomy in 2007. Dkt. No. 150 at 4. She alleges that in August 2021, during
                her incarceration, one of the implants ruptured. She states she "has since had
                severe breast and chest pain," "suffers from capsular contracture," and that surgery
                is necessary. Ld. Defendant submitted no evidence of her medical conditions with
                her motion.I See id.




              I Instead, Defendant attached evidence that she relies upon to relitigate the
              question whether she still has parental rights to C.P. and to request permission to
              contact C.P. if her motion is granted. Dkt. No. 150 at 8-9 & 15-32. Defendant's
              use of this motion to reargue a previously resolved issue is improper and
              demonstrates her continued persistence.


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         Case: 23-50008, 07/03/2023, ID: 12748182, DktEntry: 11, Page 12 of 17

    Case 2:21-cr-00293-SB Document 164 Filed 12/27/22 Page 3 of 7 Page ID t2094



                                             11.

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            Generally, "the filing of a notice of appeal divests a district court of
    jurisdiction over those aspects of the case involved in t ' he appeal." Stein v. Woo
    127 F.3d 1187, 1189 (9th Cir. 1997). However, under Federal Rule of Criminal
    Procedure 37, district courts have the authority to (1) make an "indicative ruling"
    that it would grant the motion while an appeal is pending, (2) to defer
    consideration of the motion, or (3) deny the motion. Fed. R. Crim. P. Ma . "[I]f
    the district court states that it would grant the motion or that the motion raises a
    substantial issue, the court of appeals may remand for firther proceedings . . . ."
    Fed. R. App. P. 12.1(b). The district court may then "decide the motion if the
    court of appeals remands for that purpose." Fed. R. Crim. P. 37(c).

                                             In

         Defendant seeks an indicative ruling that the Court would grant a motion for
  compassionate release. The general rule is that "[a] judgment of conviction that
  includes a sentence of imprisonment constitutes a final judgment and may not be
  modified by a district court except in limited circumstances." Dillon v. United
  States 560 U.S. 817, 824 (2010) (cleaned up). The defendant bears the burden to
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  States v. Sur     135 F.3d 1301, 130647 (9th Cir. 1998).

         The compassionate release statute, 18 U,S.C. § 3582(c)f 1)(A), as amended
   by the First Step Act of 2018 (FSA), provides a narrow exception to the general
   prohibition on modifying sentences:

         [T]he court, . . . upon motion of the defendant after the defendant. has
         fully exhausted all administrative rights to appeal a failure of the
         Bureau of Prisons to bring a motion on the defendant's behalf or the
         lapse of 30 days from the receipt of such a request by the warden of
         the defendant's facility, whichever is earlier, may reduce the term of
         imprisonment ... after considering the factors set forth in [18 U.S.C.]
         section 3553(a) to the extent that they are applicable, if it finds that—

         (i)    Extraordinary and compelling reasons warrant such a reduction;




                                             3
        Case: 23-50008, 07/03/2023, ID: 12748182, DktEntry: 11, Page 13 of 17

    Case 2:21-cr-00293-SB Document 164 Filed 12127/22 Page 4 of 7 Page ID #:2095




          And that such a reduction is consistent with applicable policy
          statements issued by the Sentencing Commission[.]

    18 U.S.C. § 3582(c)(I)(A).

       A court conducts a three-step inquiry when an inmate seeks compassionate
release under § 3582(c)(1)(A). First, the defendant must exhaust her
administrative rights with the Bureau of Prisons (BOP). Second,, the defendant
must establish "extraordinary and compelling reasons" for the requested sentence
reduction and that the reduction is consistent with the U.S. Sentencing
Commission's policy statement.2 Third, the Court must consider the sentencing
factors in Section '3553(a) to the extent they are applicable. See 18 U.S.C. §
3582(c} 1)(A); see also Aruda. 993 F.3d 799-801 (describing the FSA's
requirements).



       The Government concedes that Defendant has exhausted her administrative
rights with the BOP but correctly argues that Defendant's medical conditions do
not constitute an "extraordinary and compelling" reason for release and that the
factors in section 1 3553(a) independently weigh against release. Dkt. No. 155,

                                           4"

       Defendant has not shown that her medical conditions require compassionate
release. She is 30 years old and is not suffering from terminal illness or a serious
physical condition "that substantially diminishes the ability of the defendant to
provide self-care within the environment of a correctional facility and from which
he or she is not expected to recover." U.S.S.G. § I B 1.13 cmt. n. I (A).

2
 The Ninth Circuit has held that the Sentencing Commission's policy statement in
U.S.S.G. § I B 1. 13, which was promulgated before the FSA gave inmates the
ability to file motions for compassionate release on their own behalf, is "not an
`applicable policy statement[]' for 18 U.S.C. § 3582(c)(1)(A) motions filed by a
defendant." United States v. Aruda ' 993 F.3d 797, 802 (9th Cir. 2021). Thus,
§1131.13 "may inform a district court's discretion" for compassionate release
motions filed by a defendant, but it is not binding. Id. The Court considers the
policy statement only to this limited extent.


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                       Case: 23-50008, 07/03/2023, ID: 12748182, DktEntry: 11, Page 14 of 17

                 Case 2:21-cr-00293-SB Document 164 Filed 12/27/22 Page 5 of 7 Page ID *2096




                       Despite her burden, Defendant did not produce any evidence in support of
                her contention that she suffers from medical conditions that amount to an
                extraordinary and compelling reason for release. The Government, however,
                obtained and filed Defendant's medical records. Even considering that evidence,
                the records fail to demonstrate that Defendant suffers from conditions that justify
                granting compassionate release. The records indicate that Defendant has
                complained of an issue with her right breast. In August 2021, Defendant told her
                medical provider that she noticed her right breast was reduced in size and that she
                had begun to experience chest pain. Ex. E at 24. Another provider noted that her
                right breast is "visibly misshapen." Id. at 6. However, soon after she reported the
                problem, she had an ultrasound that "show[ed] implants in place," "[n]o edema in
                the breast tissue adjacent to the implants," and "no abnormally enlarged lymph
                nodes." Id at 5. She had another ultrasound in September 2022, and was
                "reassured that her breast exam ... was normal with the exception of a sustained
                skin tear on her [right] nipple. There were no masses, no drainage, no
                lymphadenopathy, and no skin changes. She was afebrile." Ex. F at 5.
                Defendant's records also do not support her assertion that she suffers from capsular
                contracture. Her medical records contain only a February 2022 provisional
                diagnosis that "rule[s] out" capsular contracture. Id at 93.

                           Defendant argues that she has been denied necessary treatment for
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                   can be treated. Defendant's medical records support her assertion that the prison
                   has not yet found a surgeon willing to see her: the records show that the BOP is
                   "still looking for plastic surgeon consult" because the "plastic surgeons at White
                   Memorial Hospital refused to see" her. Id at 19, 32, 37, 41. But Defendant has
                   not shown that she should be released because she has not yet received a surgical
                   consultation. The BOP appears to have been responsive to Defendant's
                   complaints, and Defendant has provided no evidence that her breast pain presents
                   an emergency requiring immediate release, or that she is not able to receive
                   reasonable care in prison.

                       As to her concerns about COVID-19, "[g]eneral concerns about possible
                exposure to COVID-19 do not meet the criteria for extraordinary and compelling
                reasons" for compassionate release. United States v. Eberhart, 448 F. Supp. 3d
                1086, 1090 (N.D. Cal. 2020). Defendant's medical records indicate she suffers
                from asthma, Ex. F at 2, which potentially places her at a somewhat higher risk for
                severe COVID-19 symptoms. But both her risk of contracting the virus and her
                risk of severe consequences if she is infected have been reduced by her partial

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                  Case: 23-50008, 07/03/2023, ID: 12748182, DktEntry: 11, Page 15 of 17

              Case 2:21-cr-00293-SB Document 164 Filed 12/27/22 Page 6 of 7 Page ID #:2097




             vaccination. Defendant has refused a second dose of the vaccine (or any boosters).
             While Defendant is free to decline vaccination, this choice undermines the claim
             that her vulnerability to the virus warrants compassionate release. United States V.
             Baeza-Vargas, 532 F. Supp. 3d 840 (D. Ariz. 2021) (collecting cases). Defendant
             has not shown how any of her medical conditions--including her ruptured implant,
             previous cancer treatment, asthma, history of seizures, or other ailments
             unsupported by the record—puts her at increased risk of contracting or suffering
             from an extreme case of COVID-19.

                    In short, Defendant has not shown that she has a serious medical condition
             that rises to the level of an extraordinary and compelling reason for early release.



                      Defendant's failure to show any extraordinary and compelling reason for
                compassionate release is sufficient to deny the requested relief. United States v.
               Keller, 2 FAth 1278, 1284 (9th Cir. 2021) (explaining that "a district court that
               properly denies compassionate release need not evaluate each step"). However,
                the Court finds that the sentencing factors set forth in Section 3553(a) provide an
               independent basis to deny the requested relief. See United States v. Tadios, 854 F.
               App'x 804, 805 (9th Cir. 202 1) (holding that a district court's denial based on the
               statutory factors "provide[s] an independent reason for denying a compassionate
- - --   - -- -release-motion").- -Although Defendant.is-currently imprisoned for a non-violent
               offense, her extensive and escalating criminal history—including her persistence in
               using extraordinary, elaborate, and criminal means to take C.P. from her foster
               family—demonstrate her danger to the public and the low likelihood she will be
               deterred from further criminal actions. 18 U.S.C. § 3553(a)(2)(B)—(C). Defendant
               was also sentenced just several months ago and has served only a third of that
               sentence, which was imposed "to reflect the seriousness" of her crimes and her
               intensifying misconduct, among other reasons (which the Court adopts here). 18
               U.S.C. § 3553(a)(2)(A). Accordingly, Defendant has not met her burden to show
               that she should be granted compassionate release under the 3553(a) factors.



                   For the foregoing reasons, the Court DENIES Defendant's motion for an
             indicative ruling that it would grant her compassionate release.

            IT IS SO ORDERED.



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    Case: 23-50008, 07/03/2023, ID: 12748182, DktEntry: 11, Page 16 of 17

Case 2:21-cr-00293-SB Document 164 Filed 12/27/22 Page 7 of 7 Page ID #:2098




Date: December 27, 2022
                                                Stanley Blumenfeld, Jr.
                                               United States District Judge




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                  Case: 23-50008, 07/03/2023, ID: 12748182, DktEntry: 11, Page 17 of 17


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